






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00374-CV






Scott Dupuie, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-FM-09-005485, HONORABLE DARLENE BYRNE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

		Appellant Scott Dupuie has filed a motion requesting that this appeal be dismissed. 
See Tex. R. App. P. 42.1(a)(1).  We grant the motion and dismiss the appeal.

		



_____________________________________________

					      Diane M. Henson, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed on Appellant's Motion

Filed:   September 10, 2010


